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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                          CRIMINAL ACTION

        v.

MICHAEL HARRIS                                                   No. 18-315-1

                                        MEMORANDUM

 PRATTER,J.                                                                        FEBRUARY 11, 2021
                                             BACKGROUND

        Michael Harris is the lead defendant in a 163-count Superseding Indictment for his

participation in the Hilltop Drug Trafficking Group (DTG). Mr. Harris and his co-conspirators

allegedly sold narcotics in West Philadelphia and Upper Darby, Pennsylvania from 2013 until July

2018. The DTG is allegedly responsible for multiple heroin-related deaths, including one overdose

death from heroin that Mr. Harris himself distributed.

        Mr. Harris was previously convicted for possession with the intent to distribute. He was

arrested in April 2014 and released on bail pending trial. While on bail, Mr. Harris allegedly

continued distributing drugs. Also while on bail, a wiretap captured him coordinating with his co-

conspirators regarding who would lead the DTG while Mr. Harris was in prison. When he was

released only two years later, Mr. Harris resumed his position as leader of the DTG and continued

to distribute illegal narcotics. Mr. Harris was arrested again in May 2018. He is currently housed

at the Federal Detention Center in Philadelphia. He now moves for pretrial release.

                                              DISCUSSION

        Mr. Harris argues that he should be released pending trial due to the COVID-19 pandemic.

The Court will first consider whether pretrial detention is appropriate under 18 U.S.C. § 3142, 1


       Mr. Harris's brief advances only constitutional arguments. However, in the interest of justice, the
Court will also consider whether his medical condition entitles him to relief under 18 U.S.C. § 3142(i).


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and then will consider whether such 'detention constitutes cruel punishment in violation of the

United States and Pennsylvania Constitutions.

I.      Whether Pretrial Detention is Warranted Under 18 U.S.C. § 3142

        The Court makes a de novo determination of whether Mr. Harris is eligible for bail and, if

so, whether he should be subject to any pretrial conditions of release. See, e.g., United States v.

Evans, No. 15-423, 2015 WL 6750769, at *1 (E.D. Pa. Nov. 4, 2015). Eligibility for bail is

governed by the Bail Reform Act. 18 U.S.C. §§ 3142 et seq. Courts must release a defendant "on

personal recognizance" or subject to reasonable conditions, unless the Court determines that "no

condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of any other person and the community." Id. §§ 3142(e), (f). However

where, as here, there is "probable cause to believe that the [defendant] committed" an offense

proscribed in the Controlled Substances Act eligible for "a maximum term of imprisonment of ten

years or more," a rebuttable presumption arises that "no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of the community."

18 U.S.C. § 3142(e)(3)(A).

       Mr. Harris does not try to rebut this presumption. Rather, his only argument as to why he

is entitled to emergency relief is that his asthma makes him more susceptible to dangers from the

COVID-19 virus. "A defendant bears the burden of establishing a 'compelling reason' warranting

temporary release under§ 3142(i)." United States v. Frazer, No. CR 19-110, 2020 WL 2404893,

at *3 (E.D. Pa. May 12, 2020). In making this determination, "a court must 'balance the reasons

advanced for such release against the risks that were previously identified and resulted in an order

of detention.'" Id. (quoting United States v. Gumora, No. 20-CR-144 (VSB), 2020 WL 1862361,

at *5 (S.D.N.Y. Apr. 14, 2020)). Because Mr. Harris does not attempt to rebut the presumption




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that he is a flight risk and would pose a danger to the community, the Court assumes that these

factors weigh against him. 2

        Mr. Harris' s brief argues that detention puts all defendants in "mortal danger of contracting

and spreading an infectious disease." Def. Br. at 9. But "[m]otions for temporary release under

§ 3 l 42(i) cannot be based on 'generalized COVID-19 fears and speculation."' Id. (quoting United

States v. Washington, No. 3:20-CR-00047, 2020 WL 2112343, at *5 (M.D. Pa. May 4, 2020)).

Rather, a defendant must make an "'individualized and specific showing of a compelling reason[]'

for release." United States v. Golden, No. CR 19-00545, 2021 WL 51459, at *4 (E.D. Pa. Jan. 6,

2021) (quoting United States v. Brown, No. 19-259, 2020 WL 2036715, at *4 (M.D. Pa. Apr. 28,

2020)). "[C]ourts have used this provision sparingly to permit a defendant's release where, for

example, he is suffering from a terminal illness or serious injuries." Id. (quoting United States v.

Hajiev, 460 F. Supp. 3d 553, 555 (E.D. Pa. 2020)).

        Mr. Harris's asthma condition does not meet this high bar. His medical records describe

his asthma as mild. In May 2019, he told FDC medical staff that he only uses the inhaler when he

"works out too much," and does not experience nighttime symptoms of asthma. Mr. Harris has

not shown that his asthma meets the clinical definition of "moderate to severe. " 3 He estimated

that he uses his inhaler about one time per week. Aside from his mild asthma, Mr. Harris is

reportedly healthy and fully ambulatory. Courts have regularly rejected motions for pretrial


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       Even absent the presumption called for by§ 3142(e)(3)(A), the Government has demonstrated that
Mr. Harris is a danger to the community. The DTG that Mr. Harris led was responsible for multiple heroin
overdose deaths, including as stated above one directly tied to heroin that Mr. Harris himself distributed.
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        The United States Department of Health and Human Services describes asthma as "moderate
persistent" when any of the following are true: symptoms occur daily; symptoms limit normal activity;
symptoms at night occur once a week; and lung function tests are abnormal. Department of Health and
Human Services, Asthma Care Quick Reference: Diagnosing and Managing Asthma (Sept. 2012),
available at https://www.nhlbi.nih.gov/sites/default/files/media/docs/12-5075.pdf (last visited Feb. 8,
2021).


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release based on similar facts. See, e.g., United States v. Towel, No. CR 17-519-6, 2020 WL

2992528, at *4 (E.D. Pa. June 4, 2020) ("[E]ven when considering the COVID-19 pandemic,

[defendant's] mild, exercise-induced asthma does not present extraordinary and compelling

reasons for his release."). The Court will therefore deny Mr. Harris's motion for pretrial release.

II.     Whether Pretrial Detention is Unconstitutional "Cruel" Punishment

       The bulk of Mr. Harris's brief argues that his detention during the COVID-19 pandemic

violates the Eighth Amendment of the United States Constitution, and article I, section 13 of the

Pennsylvania Constitution.

       The Third Circuit Court of Appeals recently considered and rejected a claim that detention

during the COVID-19 pandemic violated the Eighth Amendment. As the appellate court noted,

detention during a pandemic is unconstitutional only if the "conditions of confinement are meant

to punish" rather than "an incident of some other legitimate governmental purpose." Hope v.

Warden York Cty. Prison, 972 F.3d 310,326 (3d Cir. 2020). Here, as in Hope, Mr. Harris has not

shown that the conditions he is subjected to are "intended to harm [him]." Id. at 328. Absent such

a showing, Mr. Harris's constitutional arguments fail.

                                          CONCLUSION

       Because Mr. Harris has not shown that he is entitled to extraordinary relief under 18 U.S.C.

§ 3142(i), or that his detention is unconstitutional cruel punishment, his motion is denied. An

appropriate order follows.

                                                     BY THE COURT:


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